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                                                                                          FILED
                                                                                  VAN~SSA L. ~~RMSTRONG

                            UNITED STATES DISTRICT COURT                                OCT 11 2016
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                                                                      U.S. DISTRICT COURT
                                                                                  WEST'N. DISI KEWfUCKY
UNITED STATES OF AMERICA,                                                                 Plaintiff,

V.                                                           Criminal Action No. 3:16-cr-001-DJH

KEVIN DIETZ,                                                                            Defendant.

                                           * * * * *
               ACKNOWLEDGMENT OF WAIVER OF APPEAL RIGHTS



       I hereby acknowledge that as a part of my plea agreement with the United States, I waived

the right to appeal the sentence I just received from the Court.



       October 12, 2016                                  tfk?'---
           Date                                               Defendant's Signature
